                    UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION

 In the Matter of:                              }
 LINA HILL                                      }        CASE NO. 18-82774-CRJ-13
 SSN: XXX-XX-0768                               }
                                                }        CHAPTER 13
                                                }
                        Debtor.                 }

 LINA HILL                                      }        AP NO. 19-80011-CRJ-13
                                                }
                        Plaintiff,              }
 v.                                             }
                                                }
 BANK OF AMERICA and                            }
 CARRINGTON MORTGAGE                            }
 SERVICES, LLC                                  }
                Defendants.                     }



       ORDER TO SHOW CAUSE WHY DEFENDANT BANK OF AMERICA N.A.
                     SHOULD NOT BE SANCTIONED

        On October 7, 2019, Plaintiff filed a Motion to Compel, seeking an Order compelling

 Defendant Bank of America, N.A. to respond to Plaintiff’s Request for Production of Documents

 and to appear for depositions. The Plaintiff asserts that as of October 7, 2019, Bank of America,

 N.A. has failed to produce any documents requested pursuant to Plaintiff’s Request for Production

 of Documents, Request for Admissions, and Interrogatories dated March 29, 2019. The Plaintiff

 further asserts that Bank of America, N.A. has failed to make a representative of the Defendant

 available for depositions prior to the Mediation scheduled in this Adversary Proceeding beginning

 on October 30, 2019.

        The Court has considered the requested relief and hereby by places Bank of America, N.A.

 on notice that if the Court finds that the Defendant’s failure to produce the requested documents




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 and failure to schedule depositions was done without any legal authority or reasonable basis

 sanctions may be imposed against the Defendant. See Marrama v. Citizens Bank of Mass. (In re

 Marrama), 549 U.S. 365, 376 (2007)(explaining that bankruptcy courts may sanction abusive

 litigation practices pursuant to the court’s inherent powers and 11 U.S.C. § 105(a)).

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that counsel for

 Bank of America, N.A. must appear on Wednesday, October 16, 2019 at 9:30 a.m. before the

 Honorable Clifton R. Jessup, Jr. at the United States Bankruptcy Court, 400 Well Street, Decatur,

 AL 35601 and show cause why sanctions should not be imposed against Bank of America, N.A.

 based upon Defendant’s failure to produce requested documents and failure to schedule

 depositions.

 Dated this the 9th day of October, 2019.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge




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